
In re Avondale Industries Inc.; — -Defendant; Applying for Supervisory and/or Remedial Writs, Parish of Orleans, Civil District Court Div. K, Nos. 95-12312; to the Court of Appeal, Fourth Circuit, No. 99-C-2962.
Granted. The judgment of the trial court denying Avondale’s motion to quash the deposition is vacated and set aside. Avon-dale’s motion to quash is granted in part. The scope of the deposition will be limited to areas of inquiry which were not covered in any of Avondale’s previous depositions, however, follow-up questions will be allowed. In asking follow-up questions it will be plaintiffs burden to provide an appropriate “bridge” question, and plaintiff shall not re-ask questions previously answered. Case remanded to the trial court for further proceedings.
VICTORY, J., not on panel.
CALOGERO, C.J., and KIMBALL, J., would deny the writ.
